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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

(1) Hitch Enterprises, Inc.;                  )
(2) David D. Duncan; and                      )
(3) Sagacity Inc., on behalf of               )
themselves and all others similarly           )
situated,                                     )
                                              )
                         Plaintiffs,          )
                                              )
v.                                            )      Case No. CIV-11-13-W
                                              )
(1) Cimarex Energy Co.;                       )
(2) Key Production Company, Inc.;             )
(3) Magnum Hunter Production, Inc.;           )
(4) Prize Energy Resources, L.P.; and         )
(5) Gruy Petroleum Management                 )
   Company (n/k/a Cimarex Energy              )
   Company of Colorado),                      )
                                              )
                         Defendants.          )

                   SECOND AMENDED CLASS ACTION COMPLAINT

       Plaintiffs bring this claim on behalf of themselves and the Class of all other persons

similarly situated against Defendants and in support of these claims states as follows:

                                       NATURE OF THE ACTION

1.     Plaintiffs and the Class bring claims based upon Defendants’ underpayment or non-

payment of royalties on natural gas and/or constituents of the gas stream produced from wells in

Oklahoma through improper accounting methods (such as starting with a price that is too low

and then taking improper deductions) and by failing to account for and pay royalties, all as more

fully described below.

VENUE AND JURISDICTION

2.      Hitch Enterprises. Inc. is a family owned and operated entity, citizen of Oklahoma, and
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royalty owner in Oklahoma wells owned in part or operated by one or more Defendants and paid

be Cimarex.

3.     This Court has jurisdiction under 28 U.S.C. § 1332(d), including removal jurisdiction

under CAFA.

4.     Venue is proper in the Western District of Oklahoma.

PARTIES

5.     Plaintiff Hitch Enterprises, Inc. has a royalty interests in the Hitch JR 1 -20 and the Hitch

Trust 2-29 wells in Texas County, Oklahoma. Key Production Company, Inc. holds the lease,

operates the well, and contracts with Cimarex Energy Co. to pay the royalty on these two wells

to Plaintiff Hitch Enterprises, Inc., which Cimarex Energy Co. does.

6.     Plaintiff David D. Duncan has a royalty interests in the Duncan Clarence 1-16 well in

Custer County, Oklahoma. Cimarex Energy Co. holds the lease, operates the well, and pays the

royalty on this well to Plaintiff David D. Duncan, which Cimarex Energy Co. does.

7.     Plaintiff Sagacity, Inc. is an Oklahoma corporation and has a royalty interests in the N.

Eola FBU 25-2 (Collins McKee 2-17); Howard C 2-17; Howard A 2-17; Cassel WA A-1; Cassell

D; Howard Unit B-1; Cassell C-1; Pease A 3-17; Eola North Fault Block Unit; Shirley 3; Howard

D-2; Pease A 3-23; Howard D 3-17; Cassell C 2-7H; Eola North FBU 26-4 (Dutton 4-16); Cassell

C 3-7; Howard D 4-17; and Howard D 5-18 in Garvin County, Oklahoma, and Madill North

Sycamore Unit C-1; Madill North Sycamore Unit C G-7; Madill North Sycamore Unit B-1; Madill

North Sycamore Unit B-2; Madill North Sycamore Unit B-3; Madill North Sycamore Unit A-2;

Madill North Sycamore Unit A-3; Madill North Sycamore Unit B-4; Madill North Sycamore Unit

A-5; Junkins Story Unit 1; Madill North Sycamore Unit B-5; Madill North Sycamore Unit C-3;

Madill North Sycamore Unit A-4; Madill North Sycamore Unit C-5; and Madill North Sycamore




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Unit B-6 wells in Marshall County, Oklahoma. Prize and/or Magnum Hunter holds one or more

of the leases, CECOC operates one or more of these 32 wells, and Prize, Magnum Hunter, and

CECOC contract with Cimarex Energy to pay the royalty on these 32 wells to Plaintiff Sagacity

Inc., which Cimarex Energy Co. does.

8.     Defendants are as follows:

              a. Cimarex Energy Co. (“Cimarex Energy”) is believed to be a citizen of

                  Colorado where its corporate headquarters are located and a citizen of

                  Delaware where it is incorporated, and is doing business in the State of

                  Oklahoma. Cimarex Energy Co. has been served and appeared in this case.

                  Cimarex Energy Co. is in the business of producing and marketing gas and

                  constituent products from the wells in which Class members hold royalty

                  interests.

              b. Key Production Company, Inc. (“Key”) is believed to be a citizen of Colorado

                  where its corporate headquarters are located and a citizen of Delaware where

                  it is incorporated, and is doing business in the State of Oklahoma. Key

                  Production Company, Inc. can be served by serving process on its resident

                  agent Corporation Service Company, 115 SW 89lh Street, Oklahoma City, OK

                  73139-8511.

              c. Gruy Petroleum Management Company (n/k/a Cimarex Energy Co. of

                  Colorado, Inc.) (“CECOC”) is believed to be a citizen of Colorado where its

                  corporate headquarters are located and a citizen of Texas where it is

                  incorporated, and is doing business in the State of Oklahoma. CECOC can be

                  served by serving process on its resident agent Corporation Service Company,




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                   115 SW 89lh Street, Oklahoma City, OK 73139-8511.

               d. Prize Energy Resources, L.P. (“Prize”) is a wholly owned subsidiary of Cimarex

                   Energy, and is a limited partnership with Prize Operating Co. as its general partner.

                   Prize can be served by serving its general partner through its resident agent

                   Corporation Service Company, 115 SW 89lh Street, Oklahoma City, OK

                   73139-8511.

               e. Magnum Hunter Production Inc. (“Magnum Hunter”) is believed to be a

                   Texas company with its principal place of business in Colorado. Magnum

                   Hunter can be served by serving its resident agent Corporation Service

                   Company, 115 SW 89lh Street, Oklahoma City, OK 73139-8511.

               f. Cimarex Energy, Key, CECOC, Prize, and Magnum Hunter will be

                   collectively referred to as “Cimarex” or “Defendants”.

The Cimarex Family of Companies

9.     Cimarex Energy is the parent company of Prize, Magnum Hunter, CECOC, and Key, and
                                                                                 1
is sued herein as a lessee, operator, payor of royalty, and marketer of gas.

10.    The 2002 and 2005 Acquisitions. In 2002, Key was acquired and merged into Cimarex

Energy, and most of Key’s management becoming the management of Cimarex Energy.

Between June 7-13, 2005, Magnum Hunter Resources, Inc. was acquired by and merged into

Cimarex Energy and out of existence, but after the merger, Magnum Hunter Production, Inc.

became a wholly-owned subsidiary of Cimarex Energy. At the same time, Prize Energy

Resources L.P. and Gruy were also acquired by Cimarex Energy because they were affiliated

companies of Magnum Hunter.


1
 Cimarex Energy used a wholly owned subsidiary, Cimarex Energy Services Inc. (CESI), to
market gas until that company was phased out in 2005.

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11.     CECOC operates over 400 Oklahoma wells, including the 32 wells and units in which

Plaintiff Sagacity Inc. holds a royalty interest. CECOC holds no Oklahoma leases, but operates

all of the Oklahoma leases held by Prize and Magnum Hunter. All of the CECOC operated wells

have the royalties paid by Cimarex Energy.

12.     Prize and Magnum Hunter together hold 400 Oklahoma leases on which over 400

Oklahoma wells are operated by CECOC. Prize and Magnum Hunter do not operate any

Oklahoma wells (that is all done by CECOC) and do not pay royalty (that is all done by Cimarex

Energy). Prize and/or Magnum Hunter hold one or more of the leases on which Sagacity Inc.’s

wells are located.

13.     Key holds Oklahoma leases, operates Oklahoma wells, but does not pay royalty (that is

done by Cimarex Energy).

14.     Cimarex Energy holds Oklahoma leases, operates Oklahoma wells, markets gas from

those wells, and pays royalty for gas from wells on its leases that it operates and markets.

15.     In Oklahoma, Cimarex Energy markets the gas and pays royalty for all of its

subsidiaries—Prize, Magnum Hunter, Key, and CECOC—using the same methodology, same

computer software, and same check stub forms. However, until 2005, Cimarex Energy used

another wholly owned subsidiary, Cimarex Energy Services Inc. (CESI) to market some or all of

the gas for itself and its subsidiaries.

16.     Cimarex Energy uses “netback pricing” as the methodology to pay royalty owners.

17.     The acts charged in this Complaint as having been done by Defendants was authorized,

ordered, or done by officers, agents, affiliates, employees, or representatives, while actively

engaged in the conduct or management of Defendants’ business or affairs, and within the scope

of their employment or agency with Defendants.




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18.    The written and oral agreements permit Cimarex Energy to function by using its

subsidiaries as conduits as essentially one company, and all of the profits and losses of each

subsidiary are coalesced into the parent company, Cimarex Energy. To the extent the wholly

owned subsidiaries, Prize, Magnum Hunter, Key, and CECOC, even have directors and officers,

they are common to one another and common with Cimarex Energy. For instance, Paul Korus is

the Vice President for all of them. Cimarex Energy pays the salaries for most of the employees

performing the marketing, accounting, and payment of royalty function for all of them. Losses

or profits of all of the subsidiaries are ultimately paid or owned by Cimarex Energy. Most of the

subsidiary’s assets were originally merged into Cimarex Energy and then spun down into the

subsidiary. Cimarex Energy refers to the oil and gas businesses of these subsidiaries as its own

group. Cimarex Energy dominates and controls what these subsidiaries do with respect to

Oklahoma oil and gas marketing and royalty payment.

       A.      Agency

19.    On July 24, 2003, Cimarex Energy entered into a Service Agreement with Key and on

September 16, 2005, Cimarex Energy entered into a Service Agreement with Magnum Hunter

Resources, Inc. and its subsidiaries (effective respectively October 1, 2002 and June 7, 2005).

20.    The Service Agreements are essentially the same and permit Cimarex Energy to act as an

agent for Magnum Hunter, Prize and Key, and even without a written Service Agreement, it has

the same agency relationship with Gruy and CECOC that allows Cimarex Energy to market gas

and gas constituents from Oklahoma wells owned or operated by its subsidiaries and to pay

royalty on such wells.




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21.    Cimarex Energy elected officers and employees are appointed as attorney-in-fact for

purpose of carrying out these duties for its subsidiaries. Because these Service Agreements are

deemed confidential, they are not attached to this pleading.

22.    The terms of this agency relationship and its existence are undisclosed to royalty owners.

The agent and principal are both liable for the conduct of one another.

       B.      Joint Venturers [Dismissed by Doc. 59 and not repleaded at this time]

23.    Defendants are engaged in a joint venture to produce, market, and pay royalties, and

receive revenues and profits from gas and gas constituents produced from Oklahoma wells.

24.    Regardless of any internal accounting, Cimarex Energy, as the parent company, annually

receives the benefit of all of the revenue from its subsidiaries.

25.    As a result, the joint venturers are liable for the conduct of one another.

       C.      Alter Ego

26.    The Service Agreements and other unwritten agreements permit the Cimarex group of

companies to operate as a unit with respect to the full production, including marketing and

payment, of gas and gas constituents from Oklahoma wells.

27.    Cimarex Energy does, or certainly has the right to, control almost all of the financial

decisions of its subsidiaries, such as budgeting, financial management, accounting and auditing,

legal matters, administrative and engineering, matters relating to operations to produce, explore

for, develop, treat, negotiate and lease, enter into unitization agreements, enter into marketing

contracts, or gather gas, and anything else touching or concerning the affairs, business, interest or

assets of the subsidiary.

28.    As a result, Cimarex Energy is responsible for all of the conduct of its subsidiaries. In

addition, under the Service Agreement, the subsidiaries agree to indemnify Cimarex Energy for




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all of its conduct with relation to the subsidiary, and, as a result, the subsidiary is jointly

responsible for the conduct of Cimarex Energy. In any event, the control or right to control

makes all of the subsidiaries in Cimarex Energy alter egos of one another.

         D.      Civil Conspiracy

29.      In the unlikely event that the subsidiaries of Cimarex Energy sued herein are deemed to

be separate and distinct entities, Defendants are jointly and severally liable civil conspirators:

      a. Plaintiffs and the Class incorporate by this reference the allegations in paragraphs 1-28,

and 30-125;

      b. All 5 named Defendants had and have a common object to develop, produce, and market

gas from Oklahoma wells and pay royalty to Plaintiffs and the rest of the Class on less than the

gross product value coming from each well as expressly set forth in the paras. 19-21 and 26-28

incorporated by reference;

      c. All 5 named Defendants had either a written agreement and/or an unwritten meeting of

the minds with one or more of the other named Defendants regarding the object of the conspiracy

described above as well as regarding the course of action and what role each named Defendant

was to play in that conspiracy as set forth in the Service Agreements and other unwritten

agreements among the Defendants detailed in the paras. 19-21 and 26-28 incorporated by

reference;

      d. Each named Defendant performed one or more overt acts in carrying out the civil

conspiracy on a monthly basis by producing, operating, marketing, calculating, and underpaying

and then falsely reporting royalties as set forth in more detail in paras. 1- 28 and 30-125

incorporated by reference; and,




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      e. Plaintiffs and the Class suffered damages as the proximate result of the civil conspiracy by

being underpaid royalty on a monthly basis for years, as set forth in more detail in para. 62

incorporated by reference.

                                CLASS ACTION ALLEGATIONS

30.      Plaintiffs bring this action individually and, pursuant to Fed. R. Civ. P. 23 (a) and (b)(3),

as representatives of a Class defined as follows:

         All royalty owners in Oklahoma wells operated, leased, or paid by Cimarex
         Energy Co., Key Production Company, Inc., Prize Energy Resources, L.P. or
         Gruy Petroleum Management Company (n/k/a Cimarex Energy Co. of Colorado,
         Inc.), and/or Magnum Hunter Production Inc. that have produced gas and/or gas
         constituents (such as residue gas, natural gas liquids, helium, nitrogen, or
         condensate) from January 1, 1997 to the present.

         Excluded from the Class are: (1) the Mineral Management Service (Indian tribes
         and the United States); (2) Defendants, their affiliates, and employees, officers
         and directors; (3) Any NYSE or NASDAQ listed company (and its subsidiaries)
         engaged in oil and gas exploration, gathering, processing, or marketing; and (4)
         the gas production for those royalty owners paid under the Lawrence v. Cimarex
         settlement for gas production before September 1, 2005.

31.      The Lawrence v. Cimarex Energy Co. releases Cimarex Energy and its affiliated entities

before September 1, 2005, except for Magnum Hunter Resources Inc. and Magnum Hunter

Production Inc. which were specifically excluded from the Lawrence v. Cimarex settlement:

“Specifically excluded from this Settlement, the Release of Claims provided for herein, and this

definition are those interests acquired by CIMAREX through merger and/or acquisition of

Magnum Hunter Resources, Inc. and Magnum Hunter Production, Inc.” Lawrence Settlement

Section 1.11 defining CIMAREX.

32.    The members of the Class are so numerous and geographically dispersed that joinder of all

members is impracticable. For instance, Defendants have operated over 400 wells producing gas

in Oklahoma and many more in which it holds a working interest, with at least one, and usually



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more, royalty owners for each well. There are more than 5,000 royalty owners. While many

royalty owners remain in Oklahoma, many others reside in numerous other states, and perhaps

countries. Defendants have within their possession or control records that identify all persons to

whom it as paid royalties from wells located within Oklahoma from January 1, 1987 to present.

33.    The questions of fact or law common to Plaintiffs and the Class include, without

limitation, one or more of the following:

       (a)     Whether Plaintiffs and the Class members are the beneficiaries of an
       implied covenant obligating Defendants to place the gas (and its constituents)
       from Class Wells into Marketable Condition;
       (b)     Whether Defendants are solely responsible for all costs necessary to
       render commercially marketable the gas and constituent parts produced under the
       oil and gas leases:
       (c)         Determining the point at which the gas (and its constituents) that
       Defendants produce becomes commercially marketable;
               (i) Whether Marketable Condition for residue gas occurs at transmission
               pipeline quality as Plaintiffs contend or earlier;
               (ii) Whether Marketable Condition for NGLs occurs at fractionation
               quality as Plaintiffs contend or earlier; and
               (iii) Whether Marketable Condition for helium occurs at Grade A quality
               as Plaintiffs contend or earlier;
       (d)    Whether Defendants deducted or allowed hired third parties to deduct (in
       cash or in kind) amounts for placing the gas (and its constituents) into Marketable
       Condition before paying royalty to Plaintiffs and the Class members.
        (e)    Whether Defendants paid royalty to Plaintiffs and the Class members
       based on a starting price below what Defendants received in arm’s-length sales
       transactions;
       (f)     Whether Defendants paid royalty to Plaintiffs and the Class members for
       all gas constituents, such as condensate, nitrogen, and helium, produced from
       their wells.
       (g)     Whether Defendants calculated the royalty paid to Plaintiffs and the Class
       according to the internal accounting, royalty payment formulas, and record-
       keeping operations of Defendants which are not known to or knowable by the
       members of the Class;
       (h)     Whether the check stubs Defendants used in paying royalty to Plaintiffs
       and the Class members misrepresented or fraudulently concealed, by omission,
       commission or both, the true facts about Defendants’ calculation of royalty owed;
       (i)     Whether Defendants’ payment of royalty to Plaintiffs and the Class
       members on a monthly basis is an open account;
       (j)    Whether Plaintiffs and the Class members have the same legal claims to
       recover the above-described underpayments;



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       (k)     Whether Defendants’ uniform practice of paying royalties under the oil
       and gas leases based upon the selling price of raw gas to third parties that gather,
       process, and deliver the gas to the commercial marketplace as opposed to the
       amounts received from the sale of the residue gas and other constituents in the
       commercial marketplace constitute a breach of Defendants’ lease obligations to
       Plaintiffs and the Class members.

34.    Plaintiffs are typical of other Class members because Defendants pay royalty to Plaintiffs

and other Class members using a common method. Defendants pay royalty based on the net

revenue Defendants receive under their marketing contracts. The marketing contract terms are

unknown to and unapproved by royalty owners. The contracts are necessary to place the gas and

its constituent parts into marketable condition. Plaintiffs are also typical of the other Class

members because their leases do not contain an express provision authorizing deductions of all

of the gas conditioning costs to make the gas into marketable condition.

35.    Plaintiffs will fairly and adequately protect the interests of the members of the Class.

Plaintiffs are royalty owners paid by Defendants, understand their duties as Class representatives,

and their interests in recovering for improper deductions do not conflict with the recovery of

improper deductions by the Class. Plaintiffs have retained counsel competent and experienced in

class action and royalty owner litigation.

36.    This action is properly maintainable as a class action. Common questions of law or fact

exist as to all members of the Class and those common questions predominate over any questions

solely affecting individual members of such Class. See ¶ 33 above. There is no need for

individual Class members to testify in order to establish Defendants’ liability or even damages to

the Class.

37.    Class action treatment is appropriate in this matter and is superior to the alternative of

numerous individual lawsuits by members of the Class. Class action treatment will allow a large

number of similarly situated individuals to prosecute their common claims in a single forum,



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simultaneously, efficiently, and without duplication of time, expense and effort on the part of

those individuals, witnesses, the courts and/or Defendants. Likewise, class action treatment will

avoid the possibility of inconsistent and/or varying results in this matter arising out of the same

facts. No difficulties are likely to be encountered in the management of this class action that

would preclude its maintenance as a class action and no superior alternative forum exists for the

fair and efficient adjudication of the claims of all Class members.

38.    Class action treatment in this matter is further superior to the alternative of numerous

individual lawsuits by the members of the Class because joinder of all members of those Class

would be either highly impracticable or impossible and because the amounts at stake for

individual Class members, while significant in the aggregate, are not great enough to enable

them to enlist the assistance of competent legal counsel to pursue their claims individually. In

the absence of a class action in this matter, Defendants will likely retain the benefit of their

wrongdoing.

                               GAS INDUSTRY BACKGROUND

39.      The members of the Plaintiff Class own interests in wells that produce gas and

constituent products that are subject to uniform accounting methods and to applicable implied

marketable product law which requires the lessee to bear all of the costs of placing the products,

whether gas or its constituent parts, in “Marketable Condition”.

40.    The lessee under an oil and gas lease has the duty to produce marketable products, and

the lessee alone bears the expense in making all products marketable. Gas and its constituent

parts are marketable only when in the physical condition to be bought and sold in a commercial

marketplace.




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41.    Only after a given product is marketable does a royalty owner have to pay its

proportionate share of the reasonable costs to get a higher enhanced value or price for that

particular product.

                                The Lessor-Lessee Relationship

42.    The lessor owns minerals, including oil and gas, and the lessee has the money, labor, and

know-how to extract, condition, and market those minerals. The lessor and lessee enter into a

lease that allows the lessee to take the minerals from the lessor’s land. The usual revenue split

from a well was 1/8th to the lessor (royalty owner) and 7/8ths to the lessee. As the risk of finding

oil and gas has diminished over time, due to the prevalence of wells delineating the field, better

seismic technology to find oil and gas, and drilling rigs becoming more efficient, royalty owners

on more recent leases have received 3/16th or even 1/4th of the revenue The oil and gas

companies through undisclosed internal accounting practices have tried to keep as much of the

well revenue as possible. These accounting practices are at the heart of every oil and gas royalty

owner case.

43.     Rather than adopting transparency in its royalty calculation formula, Defendants, like

most lessees, has guarded its production and accounting processes as confidential or proprietary,

thereby, depriving the royalty owners of critical information. Consequently, the royalty owner is

unaware of the lessee’s actual practices which enable the lessee to breach the oil and gas lease

without accountability. Amazingly, these one-sided, half-century long deals can never (as a

practical matter) be breached by the royalty owner. So the lessee can breach, and if caught, can

force a settlement for only a small percentage of what it should have paid in royalty, thus making

the breach profitable.




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44.     If after years one or more of the royalty owners learn of the “breach”, the royalty owner

has only 3—all poor—options: (1) confront the lessee and maybe get paid while the lessee

continues to retain improperly garnered gas revenues from thousands of other unknowing royalty

owners; (2) do nothing since it only results in a modest yearly loss to them and individual

litigation is too expensive to pursue for that; or (3) file a class action lawsuit which will last for

years and may still not recover the full loss. In short, if lessee breaches, it may never be held

accountable, and if a royalty owner complains, the lessee may still come out ahead. The class

action is the best of the options, hence this suit.

            Residue Gas, Helium, Nitrogen, and Natural Gas Liquids Production

45.     The gas is gathered from each well, dehydrated and compressed, through gathering lines

that are buried underground and cross many miles of land. The three primary well gas products--

methane, natural gas liquids (“NGLs”), and helium--are further processed at processing plants

before being trucked or piped to the commercial market and on to the end-user.


                      Wellhead (Basic Separation and Gas Measurement)


46.     The diagram below illustrates the gas conditioning process.




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Wells produce oil, gas, and a host of other products, such as water, helium, nitrogen, etc, all

mixed together in the gas stream.2 After the stream comes out of the ground, it enters the free

water knockout (a/k/a three-phase separator) which separates the products by gravity, water at

the bottom, oil in the middle, and gas going out the top. Due to the low technology, the separator

is not expensive (the “separation cost”). The gaseous mixture (with helium, nitrogen, NGLs, and

other gaseous substances) passes from the separator into the gas line.3 The remaining fluid goes

through the heater-treater where heat, gravity segregation, chemical additives and electric current
2
        Hydrocarbons can vary in chemical makeup (from simple methane to complex octane)
and in form (from a pure gaseous state to liquid condensate). The non-hydrocarbon makeup of
the well-stream that includes natural gas can also include gases such as helium, sulfur, carbon
dioxide and nitrogen. This mixture of many gaseous elements and substances is often referred to
as the “gas stream” or just “gas”.
3
        A minute portion of this raw or mixed gaseous product may be used on the leased land to
heat the farm house pursuant to a free gas clause in the lease or sometimes sold to a small,
limited local market with a finite demand to local irrigators near the wellhead. This limited local
market accounts for less than 5% of a producer’s gas production.



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break down the mixture more clearly into oil and water. The heater-treater is installed,

maintained and takes fuel to operate (the “heater-treater cost”). The water is drained off and sent

for salt water disposal. The oil that is separated at the wellhead is collected in a tank, usually

trucked out and sold. [The payment of oil royalties is not at issue in this lawsuit.]

47.    Since the pressure of many wells has depleted over the decades of production, sometimes

wellhead compressors have been installed to suction gas out of the well or just to move the

gaseous mixture. These wellhead compressors are installed, maintained and use fuel (the

“wellhead compression” or “vacuum compression” cost). The gaseous mixture produced from a

single well cannot be processed economically, so the mixtures are ‘gathered’ together through

gathering lines and the aggregate mixture is put through a processing plant. See

http://www.kgs.ku.edu/Publications/Oil/primer13.html




                  Gathering Lines (Dehydration, Compression, Condensate)

48.      As the gaseous mixture from each well enters the gathering line it is measured, both

volume (in Mcf) and in quality (Btu content) (combined, “gas measurement” done in MMBtu).

This is done in a meter run which must be constantly maintained to preserve accuracy (the


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“measurement cost”). Gathering pipelines are made of metal that could be corroded by any

remaining water vapor (and other corrosive gases) in the gaseous mixture, so a glycol dehydrator

is used to remove the water vapor (“dehydrator cost”). Of course, gas cannot move unless it is

pressurized, so large gas compressors are installed to move the gas down the gathering line. The

gas must be pressurized high enough to overcome the back-pressure in the line and friction.

These compressors are expensive and require fuel to operate (together, “gathering or field

compression fee” and/or “gathering fuel”). The gathering pipelines themselves cost money to

lay and maintain (“gathering cost”). Gas condensate (gas condensed into liquid as it cools) is

collected at points along the gathering lines as a result of cleaning or “pigging the line”

(“Condensate”), and is captured for fractionation later. Finally, gathering lines leak, especially

as they age, resulting in lost and unaccounted for gas (“L&U”).

                                     Natural Gas Processing

49.    Once the gas mixture is gathered from a sufficient number of wells (and often from

multiple gathering systems), it enters the inlet of the processing plant. To process the gas into

methane, crude helium, and mixed NGLs, lessees, such as Defendants, use gas processing plants.

Sometimes the processing plant is owned by an unrelated third party and sometimes it is owned

in whole or in part by lessees. Sometimes other impurities in the mixture must be removed such

as carbon dioxide, nitrogen, or sulfur (the “treatment cost”). Methane gas (sometimes called

“residue gas”) must meet the quality standards for long-haul pipeline transmission set by the

Federal Energy Regulatory Commission (FERC) which is called “pipeline quality gas”. NGLs

are used as a feedstock in the petrochemical and oil refining industries, and are worth more than

methane. NGLs are separated from the gaseous mixture by cooling the mixture until the NGLs

become separated. This cooling or Cryogenic recovery method usually takes place at




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temperatures lower than minus 150°F (the “Cryogenic or cooling process”). The mixture of

NGLs is further moved down a liquids pipeline and processed by a fractionator for separation of

the NGLs into their component parts (“T&F” or “fractionation”). Helium is processed into a

crude mixture known as “raw helium” or “crude helium”. Raw helium contains impurities and

must be further processed into Grade A helium for commercial sale and use. This total

processing system involves expensive equipment and requires fuel to operate (collectively, the

“processing charge” and/or “plant fuel”).

50.      At the tailgate of the processing plant, at least four products emerge: (1) crude helium; (2)

residue gas (or methane gas); (3) NGLs (usually a mixture of NGLs, known as “raw make” or

“Y” grade); and (4) nitrogen and other products. None are commercially marketable at that

point.

                              Marketable Condition for the Products

51.      Helium. Crude helium (about 50%-80% pure) has little commercial use; instead, it has to

be further processed into Grade-A helium (99.9% pure).

http://minerals.usgs.gov/minerals/pubs/commodity/helium/heliumcs05.pdf The crude helium

from the processing plant is then piped to one of the Grade A helium processing plants.

52.      Helium is an element. Helium has no Btu content, and will not burn. Helium is found in

the natural gas stream but is not itself natural gas. Helium is an increasingly valuable product.

http://www.jbs.cam.ac.uk/programmes/phd/downloads/conference_spring2007/papers/cai.pdf

(“Eventually we expect helium prices to be sufficient to motivate gas extraction from wells

where the helium is the primary product and other gases, such as natural gas and carbon dioxide,

would form a by-product.”). The gas streams from Plaintiffs’ wells and those of other Class

members contain helium. Helium is extracted at the processing plants, but Defendants do not

pay royalty at all, or not completely, on the helium from Plaintiffs’ and Class members’ wells.


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53.     Methane Gas. Methane gas (or residue gas) is commercial quality (a/k/a “pipeline

quality”) at the tailgate of the processing plant only after it is further pressurized to enter the

transmission line by a booster compressor (the “booster compression” cost) .

54.     NGLs. The raw mixture of NGLs at the tailgate of the processing plant is not

commercially marketable. It must be fractionated into commercially marketable products—

ethane, propane, butane, isobutane, natural gasoline, etc. See,

http://ngl.conocophillips.com/news/about.htm. Defendants improperly deduct, in computing

royalty for NGLs, processing fees and/or other costs (such as transportation and fractionation,

T&F) needed to reach commercially marketable fractionated NGLs. Such deductions are

improper.

55.     Nitrogen and other Products. Nitrogen is produced and processed without payment of

royalty, and Plaintiffs and Class members are entitled to royalty on nitrogen produced from their

wells and used or sold. The same is true of other products, such as Condensate which falls out

from cooling on the gathering line.

                                           Sale of Products

56.     To turn the gas products into money, the producer then sells the products. One would

expect that such sales would occur in the commercial market place in an arm’s length

transactions. That, in fact, occurs, but lessees attempt to cover up and manipulate that fact by

self-serving language in marketing contracts about title transfers or even by creating wholly

owned affiliates to manufacture a fictitious “sale” before the gas reaches commercial quality for

sale.

57.     The "starting price” for gas products is most often established by the lessee through a

“weighted average sales price” or an “index price”. If Defendants have the market power to,




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over time, obtain above “index price” in its arm’s length sales, then as an agent for the royalty

owner, the royalty owner is entitled to this higher price over time as well.

          a.       Affiliated Service Companies May Be Used Before The Products Are Placed In
                   Marketable Condition.

58.       Some lessees contract with affiliated gathering companies or other affiliated gas service

providers before the products (residue gas and/or NGLs) are in Marketable Condition in an effort

to: (1) artificially, and improperly, create a commercial market where none truly exists in order

to justify deducting costs from, or not even paying for, the gas or constituent products to royalty

owners; (2) charge “marketing fees” to royalty owners through affiliates even though the lessee

is already obligated under the lease to market the gas and constituent products; and/or (3) pay on

the lower lessee/affiliate sale price not the higher affiliate/third party price.

          b.       Affiliated Marketing Companies May Be Used After Products Are Placed in
                   Marketable Condition.

59.       The “weighted average sales price” involves a pool of sales transactions to third parties

(and/or affiliates) and combines the prices paid by those third parties (and/or affiliates) to arrive

at a “weighted average sales price”. Lessees can manipulate this process by using lower

lessee/affiliate sales prices for part of the pool price, rather than all third party arm’s length sale

prices.

                       Different Ways Defendants Underpay Royalty Owners

60.       The extraordinarily large dollars at stake and the one-sided nature of the gas lessor-lessee

relationship are constant temptations to lessees to wrongfully retain gas revenues. All payment

formulas, affiliate and non-affiliate contractual relationships, and all calculations are exclusively

in the control of lessees, and they involve undisclosed accounting and operational practices. As

a result, there are many ways royalty owners are underpaid on their royalty interests, and they




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never know it. The common thread through all of these schemes is that they are typically buried

in the internal lessee accounting systems or royalty-payment formulas.

61.    Defendants represent the royalty calculation on the form of a monthly check stub it sends

each royalty owner. The check stub shows each royalty owner’s interest (which is not in dispute

here), and volume, price, deductions, value, and taxes, all of which are at issue in this case.

62.    Defendants underpay Plaintiffs and the Class in one or more of the following ways,

without limitation:

       (a)     Helium. Helium is contained in the well-stream produced from Plaintiffs’ and

most Class members’ wells, but Defendants: (i) fails to pay royalty for all of the helium

produced (some is lost and unaccounted for in the gathering process); (ii) deducts processing fees

and costs even though the helium is not yet in commercial grade; (iii) pays at a lower than

commercial Grade A price; and (iv) deducts a helium severance tax that is not owed.

       (b)     Condensate. Plaintiffs’ and Class members’ wells produce heavy hydrocarbons

that condense in the pipeline and are recovered by Defendants (or on behalf of Defendantss by its

gatherers), but Defendant fail to pay any royalty for that Condensate. Some of this failure to pay

may be accomplished by use of an affiliate.

       (c)     Natural Gas Liquids (NGLs). Defendants: ( i) fail to pay royalty for all of the

NGLs produced (some is lost and unaccounted for in the gathering process); (ii) deduct

processing fees and expenses; iii) and reduce payment by T&F all before obtaining commercially

marketable fractionated NGLs. NGLs should be paid on a fully fractionated basis and only on

arm’s length sales. Some of this failure to pay may be accomplished by use of an affiliate.

       (d)     Residue Gas.




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               (i)     The starting price paid for residue gas may be improper as affiliate sales to

       an affiliate, instead of an arm’s length, third party sale price;

               (ii)    The volume paid to royalty owners and reflected on their check stubs is

       less than is the volume actually produced from the wells because, among other things,

       Defendants improperly deduct in-kind gas used in gathering and processing, and lost gas

       in the gathering line;

               (iii)   Deducting (in cash or in-kind) costs for placing the gas in Marketable

       Condition, such as gathering, treating/conditioning, dehydration, compression,

       processing, or other deductions is improper;

        (e)    Nitrogen and Other Products. Defendants fail to account and pay royalties on

nitrogen or other products that are used or sold and obtained from Class members' wells.

  DISCOVERY RULE, FRAUDULENT CONCEALMENT, EQUITABLE ESTOPPEL,
                    AND CONTINUOUS CONDUCT

63.    Plaintiffs and the Class incorporate by this reference the allegations in paragraphs 1- 42.

64.    The royalty account for each royalty owner was an open account in that each monthly

payment was subject to correction and Defendants have made prior period adjustments for years.

Since the payment of royalties to royalty owners are open accounts, limitations does not begin to

run at all (or is tolled) until the final payment on such account has been made, i.e. after the well

has ceased production and a final payment has been made.

65.   Throughout the Class Period, Defendants undertook to represent to Plaintiffs and Class

members on a monthly basis on their check stubs that a proper accounting had been made, but

through a series of common omissions and misrepresentations, in fact Plaintiffs and the Class did

not receive a proper accounting.




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66.    Defendants also carried out its internal practices without disclosing that Defendants were

underpaying Plaintiffs and the Class by an amount less than the full and appropriate royalty

owner payments.

67.    Throughout the Class Period, the only accounting provided by Defendants to royalty

owners on a monthly basis is contained in the check stubs which come to royalty owners in

Oklahoma wells using the same check stub format and the same check stub software that,

unbeknownst to royalty owners, fails to disclose and affirmatively misrepresents the price,

quantity, value, and deductions. Defendants represent a price which is lower than the price it

receives from third party arm’s-length sales because Defendants permits deductions from royalty

based on marketing contracts which royalty owners do not know about and do not participate in

making. These deductions go both to price and to volume. Consequently, when the Defendants’

check stub reflects nothing in the “gross deducts” column, that is false. Likewise, when it

represents a gross quantity, that is not the measured wellhead volume but something less. And,

the “price” is not a real price. Instead, the “price” is a calculated number that secretly reflects

deductions or reductions. And, further, the “price” does not disclose that Defendants are not

putting NGLs, Condensate, and/or Helium into marketable condition but is often giving those

away as part of a gathering or processing contract or taking or allowing undisclosed deductions

in those cases where it does pay something for constituents of the gas stream other than residue

gas. Consequently, the gross value is also incorrect and low. In short, the check stub

fraudulently conceals the actual volume, price, and deductions taken from royalty owners

Further, the “volume” on the check stubs fail to disclose that Defendants have failed to put all

components of the gas stream into marketable condition at its sole cost, but, instead, that

volumetric deductions or reductions are allowed to reduce royalty amounts and that components




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of the gas stream are reduced as a result of fuel, and lost and unaccounted for gas (FL&U) as

well as plant fuel or percentage of products paid for which result in underpayment without

disclosure to royalty owners as to what is deducted or how much.

68.   Because of Defendants’ misrepresentations, omissions, and/or general scheme to conceal

its underpayments, Plaintiffs and the Class did not become aware, and could not have become

aware through the exercise of reasonable diligence, that such schemes were in existence. The

only way to know was for Defendants to disclose their royalty payment methodology, i.e. a

netback pricing scheme based on deductions set forth in a gas marketing contract, which were

confidential and could not, would not, and were not disclosed to royalty owners. Unbeknownst

to Plaintiffs in this suit, royalty owners in Kansas, in which Cimarex uses the same royalty

payment methodology, asked for information about deductions being taken, and was erroneously

told by Mike Hart (a deponent in this case) that no improper deductions were being taken. Thus,

requesting such information from Cimarex to disclose its own improper conduct, not

surprisingly, was and is a useless act. Therefore, Plaintiffs and the Class are entitled to toll the

applicable statutes of limitations, based upon the doctrines of fraudulent concealment (Plaintiffs

and the Class also allege actual fraud, deceit, and constructive fraud which also tolls the statute

of limitations), discovery rule, continuing conduct, and estoppel.

69.     Plaintiffs and the Class reasonably and justifiably relied on the accuracy of monthly

royalty payments from Defendants and the reporting of the royalty payments on the monthly

check stubs from Defendants, cashed their royalty checks and did not sue Defendants for

underpayments or false reporting. Plaintiffs learned of these common misrepresentations on

their check stubs after establishing an attorney-client relationship with the undersigned attorneys

and less than a month before filing or joining this suit. The Class is still in the dark.




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                               COUNT I—BREACH OF LEASE

70.    Plaintiffs and the Class incorporate by this reference the allegations in paragraphs 1- 69

and 75-125.

71.    Plaintiffs and the Class (or their predecessors in title) entered into written, fully executed,

oil and gas leases with Defendants (or their predecessors in title) and at least one lease for each

Plaintiff is attached and incorporated by reference. 4 Each of the attached leases and Class leases

include implied covenants requiring Defendants to place the gas and its constituent parts in

“Marketable Condition” at Defendants’ exclusive cost. The leases also place upon Defendants

the obligation to properly account for and pay royalty interests to royalty owners under the

implied mutual benefit rule. Finally, the Duncan lease and most Class leases also expressly

require royalty on field fuel used off the lease, but Cimarex does not pay royalty on that.

72.    At all material times, Plaintiffs and the Class have performed their terms and obligations

under the leases.

73.    Defendants breached the implied covenant of the leases by its actions and/or inactions.

74.    As a result of Defendants’ breaches, Plaintiffs and the Class have been damaged through

underpayment of the actual amounts due.

4
   For Hitch, the lease was with Cabot Oil, assigned to Phillips Petroleum, and then assigned to
Key Production Company, Inc. which also operates the two Hitch wells, see para. 5 (Ex. A,
attached an incorporated by reference). For Duncan, one lease is with Warren American Oil
which was assigned in part to Cimarex Energy Co. and the other lease was with Cimarex Energy
Co., which also operates the Duncan well, see para. 6 (Ex. B, attached and incorporated by
reference). For Sagacity, Inc., there are a number of leases all attached as Exhibit C and
assigned from Samedan Oil Corp. to ARCO and then to Prize and/or Magnum Hunter, for the
wells and Units operated by CECOC in Marshall County, Oklahoma, see para. 7 (Ex. C, attached
and incorporated by reference). Cimarex Energy, Key Production, Magnum Hunter, and Prize all
reflect these wells, leases, and production from these wells as collateral owned by them for a
Billion Dollar mortgage and up to a $2 Billion revolving line of credit in which they finance all
of the wells, leases, and production together as if a joint operation, and all signed for by just one
person who is the VP, CFO, and Treasurer for each Defendant. See Ex. D attached and
incorporated by reference.

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                            COUNT II—UNJUST ENRICHMENT

75.    Plaintiffs and the Class incorporate by this reference the allegations in paragraphs 1-74,

and 78-125.

76.    Defendants received the benefit of or retained monies due and owing to Plaintiffs and the

Class. Defendants were thereby able to use for their own purpose monies that in equity and good

conscious, and as a matter of law, belonged to royalty owners.

77.    The existence and ongoing retention of these monies by Defendants affected an

immediate and measurable increase in Defendants’ cash, revenue, and profits.

78.    Defendant’s retention of such monies is unjust and unwarranted for all of the reasons set

forth herein and damaged Plaintiffs and the Class. Additionally, Defendants are liable for the

profits it made from the unlawful and improper retention and use of monies that should have

been paid to Plaintiffs and the Class.

                    COUNT III---ACCOUNTING AND DISGORGMENT

79.    Plaintiffs and the Class incorporate by this reference the allegations in paragraphs 1- 78

and 81-125.

80.    Plaintiffs and the Class seek an equitable accounting of such monies and a disgorgement

of such monies, including recovery for monies wrongfully retained at the highest interest rate

allowed by equity whether that be at Defendants’ internal rate of return or some other rate under

applicable case law or equitable principles.

      COUNTS IV, V, AND VI---FRAUD, DECEIT, AND CONSTRUCTIVE FRAUD

81.    Plaintiffs and the Class incorporate by this reference the allegations in paragraphs 1- 80

and 103-125.




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82.    The majority of royalty owners in the Class are from Oklahoma. So the uniform

misrepresentations and/or omissions on the monthly check stubs were made primarily in

Oklahoma and acted upon primarily in Oklahoma.

83.    The wells involved in this case are entirely within the State of Oklahoma, and many of

those wells involve unitization for secondary recovery and/or drilling and spacing units pursuant

to Oklahoma law.

84.    Defendants’ uniform misrepresentations and/or omissions on the check stubs all pertained

to Oklahoma wells.

85.    Defendants did business associated with production of the oil and gas in Oklahoma.

86.    The oil and gas products were produced exclusively from Oklahoma wells, from

Oklahoma’s energy reservoirs, and primarily gathered in and processed in Oklahoma.

87.    Plaintiffs and the Class members received standardized written misrepresentations and/or

omissions as set forth above.

88.    More Oklahoma citizens in the Class relied on the monthly check stubs that contained

misrepresentations and/or omissions than in any other state.

89.    The source of the underpayments and deductions are gas marketing contracts (sale,

gathering, or processing) that pertain exclusively to gas and constituents from Oklahoma

reservoirs and are for gas conditioning services that occur almost exclusively in Oklahoma.

Although the accounting for these Oklahoma gas marketing contracts is done at Defendants’

home office, the source of all of the numbers (and resulting misrepresentations) originate

primarily from Oklahoma.




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90.    The monthly check stubs themselves are and were a failed, false, and fraudulent attempt

to comply with the Oklahoma check stub law and failed to accurately account to Plaintiffs and

the Class.

91.    The gas products involved in this case originate from Oklahoma wells, which both Class

members and Defendants were well aware and all of the gas products were pumped entirely from

within the boundaries of Oklahoma. Upon their lifting from the ground, the gas and constituent

products became tangible personal property collected and sold from Oklahoma reservoirs.

92.    As set forth above, Defendants made a material representation that was false and/or

omitted to state one or more material facts needed to make what was stated not misleading.

Defendants knew when the material representations were made on the check stubs that they were

false or misleading and/or at least made it recklessly without any knowledge of its truth, or made

it with the intent that Plaintiffs and the Class would on it. Plaintiffs and the Class did rely on the

uniform written misrepresentations by both action (cashing the royalty checks) and refraining

from action (not promptly suing for underpayments). In addition, Plaintiffs and the Class are

legally presumed under the law to have relied upon these uniform written representations from

operators, fiduciaries (and those acting on behalf of fiduciaries), and those making

representations pursuant to the PRSA as being truthful and accurate, when they were not, and

Plaintiffs and the Class members suffered injury and were underpaid as a result of their reliance,

presumed or actual.

93.    Defendants also concealed or failed to disclose facts about the price, volume, value,

various products produced, and deductions, which Defendants had a duty to disclose to avoid

presenting half-truths or misrepresentations.




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94.    Defendants undertook the duty to properly account by making the statements in the check

stubs on a monthly basis to royalty owners. By speaking on the issue, Defendants had a duty to

make full and fair disclosure of all relevant facts. This is especially so because Defendants had

superior and/or specialized knowledge and/or access to information as compared to Plaintiffs and

the Class of royalty owners.

95.    Defendants knew that their representations or omissions on the monthly check stubs were

at least ambiguous and created a false impression of the actual facts to the royalty owners.

96.    Defendants knew the facts were peculiarly within the Defendants’ knowledge and that the

Plaintiffs and the Class of royalty owners were not in a position to discover the facts pertaining

to the proper volume, values, and constituents coming from their wells. Accordingly, having

spoken on the subject matter, Defendants had a duty to make full and fair disclosure of all

material facts such that its statements were not misleading and did not fail to state material facts

necessary to make the statements made not misleading.

97.    Defendants were deceitful by suggesting, as a fact, that the volume, price, value, and

other statements were as set forth on the check stubs monthly but which was not true and

Defendants knew they were not true, had no reasonable grounds for believing they were true, or

gave only such information as was likely to mislead for want of the communication of the non-

disclosed facts.

98.    The misrepresentations and omissions were intentionally made and were intended to

suggest that the price was a third party commercial price without hidden deductions, the volumes

were accurately measured without volumetric deductions, and that deductions would be shown

on the check stub when in fact they were not.




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99.    Defendants have fraudulently and deceitfully misled Plaintiffs and the Class into

believing that they had been paid on the full value of the production from their Oklahoma wells

by falsifying and creating misleading check stubs sent to the Class.

100.   Defendants acted intentionally or recklessly in disregard for the rights of Plaintiffs and

the Class members by not properly paying royalty owners, by deceiving them with check stubs

that were misleading, and by not correcting Defendants’ royalty payment practices after Johnson

v. Jernigan (1970), Wood v. TXO (1992), TXO v. State (1994), Garman v. Conoco (CO 1994),

Sternberger v. Marathon Oil (KS 1995), and Mittelstaedt v. Santa Fe Minerals Inc. (1998) such

that punitive damages in the amount of actual damages awarded should be awarded under 23

O.S. §9.1(B)(2)(b) and that Defendants acted intentionally and with malice toward Plaintiffs and

the Class members subjecting Defendants to punitive damages in the amount of double actual

damages under 23 O.S. §9.1(C)(1)(b).

101.   The money wrongfully obtained by Defendants as a result of what should have been paid

to Plaintiffs and the Class should be held in constructive trust along with moratory interest for

Plaintiffs and the Class.

102.   As a direct and proximate result of Defendants’ fraud deceit, and constructive fraud,

Plaintiffs and the Class members are entitled to recover both actual and punitive damages from

Defendants, as well as pre-judgment interest, post-judgment interest, attorneys’ fees, expenses,

and costs and such other relief as permitted by Oklahoma law.


                    COUNT VII-BREACH OF FIDUCIARY DUTY

103.   Plaintiffs and the Class members incorporate by this reference the allegations in

paragraphs 1- 102 and 112-125.

104.   Plaintiffs and the Class members have wells that have unitized under 52 O.S. §§ 287.1-



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287.15 and/or 52 O.S. § 87.1.

105.   Defendants have a fiduciary duty as a result of the above mentioned statutes, the

Oklahoma Corporation Commission (OCC) orders made pursuant to those statutes, and/or the

unitization order and agreement with Plaintiffs and the Class members based on field-wide units

or secondary recovery under 52 O.S. §§ 287.1-287.15 and also by the creation of drilling and

spacing units under 52 O.S. § 87.1.

106.   Defendants are the unit operator by appointment from the Oklahoma Corporation

Commission for Plaintiffs’ wells and the Class members.

107.   Defendants owe a fiduciary duty to Plaintiffs and the Class members under the Oklahoma

Production Revenue Standards Act, 52 O.S. § 570.10(A).

108.   Defendants breached their fiduciary duty to Plaintiffs and the Class members by

failing to properly report, account for, and distribute gas proceeds to Plaintiffs and the Class

members for their proportionate royalty share of gas production.

109.   If the statute of limitations applies at all to an open account and is not tolled as set forth

above, the statute of limitations is not even triggered for breach of fiduciary duty in this case

because Plaintiffs and the Class members did not know and could not have known of Defendants'

failure to make proper payments which was based solely on accounting information in the hands

of Defendants.

110.   Defendants' conduct in breaching its fiduciary duties to Plaintiffs and the Class members

was done intentionally, maliciously, or in reckless disregard for the rights of Plaintiffs and the

Class members.

111.   As a direct and proximate result of Defendants' breach of fiduciary duty, Plaintiffs

and the Class members are entitled to recover both actual and punitive damages from Defendants,



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as well as pre-judgment interest, post-judgment interest, attorneys' fees, expenses, and costs, and

such other relief as permitted by Oklahoma law.

   COUNT VIII - TORTIOUS BREACH OF IMPLIED DUTY OF GOOD FAITH AND
      FAIR DEALING IN THE LEASE [Dismissed by Doc. 59 and not repleaded]

112.   Plaintiffs and the Class members incorporate by this reference the allegations in

paragraphs 1- 111 and 118-125.

113.   Defendants, as set forth above, owed a fiduciary duty, quasi-fiduciary duty, and/or a

special relationship to Plaintiffs and the Class as well as an implied duty of good faith and fair

dealing in every lease.

114.   Defendants have never repudiated its fiduciary or quasi-fiduciary duty to the Plaintiffs or

the Class or its special relationship. In fact, Defendants’ actions have reinforced the existence of

such a duty since they totally controlled royalty payments and the Plaintiffs and the Class was

forced to put faith and trust in Defendants. Defendants knew that the Plaintiffs and the Class had

no option but to trust Defendants to properly account for and pay royalty.

115.   Defendants’ actions are and have been more than a simple breach of lease. Implied into

every contract and lease is the duty to deal honestly and fairly.

116.   Defendants are liable for tortious breach of lease resulting in damages to the Plaintiffs

and the Class for failing to deal honestly and fairly.

117.   As a direct and proximate result of Defendants' breach of duty, Plaintiffs

and the Class members are entitled to recover both actual and punitive damages from Defendants,

as well as pre-judgment interest, post-judgment interest, attorneys' fees, expenses, and costs, and

such other relief as permitted by Oklahoma law.




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  COUNT IX - TORTIOUS BREACH OF LEASE [Dismissed by Doc. 59 and not

repleaded]

118.     Plaintiffs and the Class members incorporate by reference the allegations in paragraphs 1-

117 and 122-125.

119.     The duties imposed by the lease, operator statutes and OCC orders, and PRSA require

that the royalty accounting, payment, and reporting be done with care, skill, and faithfulness, but

Defendants have not only failed to do so, but have knowingly and/or intentionally failed to do so

constituting a tort in the performance of the lease and royalty payment process and obligation.

120.     Defendants are liable for the tortious breach of the lease in the performance resulting in

damages to the Plaintiffs and the Class.

121.     As a direct and proximate result of Defendants’ tortious breach of the lease, Plaintiffs and

the Class members are entitled to recover both actual and punitive damages from Defendants, as

well as prejudgment interest, post judgment interest, attorneys’ fees, expenses, and costs, and

such other relief as permitted by Oklahoma law.

            COUNT X – CONVERSION [Dismissed by Doc. 59 and not repleaded]

122.     Plaintiffs and the Class members incorporate by reference the allegations in paragraphs 1

– 121.

123.     Pursuant to 52 O.S. §570.10(A), the proceeds of the sale of oil and gas attributable to a

royalty owner’s interest are considered specifically identifiable monies owned by the royalty

owner and held in trust for him by Defendants and may be the subject of conversion.

124.     By failing to properly pay Plaintiffs and the Class members for royalty, Defendants are

liable for conversion.




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125.   As a direct and proximate result of Defendants’ conversion, Plaintiffs and the Class

members are entitled to recover both actual and punitive damages from Defendants, as well as

pre-judgment interest, post-judgment interest, attorneys’ fees, expenses, and costs and such other

relief as permitted by Oklahoma law.


                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs prays for an Order and Judgment against Defendants as follows:

       a.       Certifying this action pursuant to Fed. R. Civ. P. 23 (a) and (b)(3) as a class

       action, appoint Plaintiffs as Class representatives, and Plaintiffs’ Counsel as Class

       counsel with reasonable notice to be given to members of the Class;

       b.       Awarding Plaintiffs and the Class members damages from Defendants’ breach of

       lease and unjust enrichment, including but not limited to disgorgement, interest at the

       highest allowable rate (such as lawful, equitable, or internal rate of return), compensatory

       damages, and punitive damages for fraud, deceit, constructive fraud, breach of fiduciary

       duty, and breach of the implied duty of good faith and fair dealing;

       c.       Granting Plaintiffs and the Class the costs of prosecuting this action together with

       reasonable attorney’s fees , expenses, and costs out of the recovery;

       d.       Granting an accounting of underpayments, non-payments, and wrongful

       deductions regarding Plaintiffs and the Class; and,

       e.       Granting such other relief as this Court may deem just, equitable and proper.

JURY DEMAND

       Plaintiffs and the Class demand trial by jury regarding all issues that can be tried to a jury

under applicable law.

ATTORNEYS’ LIEN CLAIMED.


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                            CERTIFICATE OF SERVICE

       On April 17, 2012, I electronically transmitted the attached document to the Clerk
of Court using the ECF System for filing. Based on the records currently on file, the
Clerk of Court will transmit a Notice of Electronic Filing to the following ECF
registrants: ndavis@swlaw.com, jkilroy@swlaw.com, jyates@swlaw.com and
bwelsh@gablelaw.com.


                                  /s/ Rex A. Sharp




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